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    Respondent’s
     Exhibit A
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                IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF TEXAS
                          DALLAS DIVISION

 TYRONE CADE,                            §
                   Petitioner,           §
                                         §
 v.                                      § Civil Action No. 3:17-CV-03396-G
                                         §
 BOBBY LUMPKIN, Director,                §       DEATH PENALTY CASE
 Texas Department of Criminal            §
 Justice, Correctional Institutions      §
 Division,                               §
                   Respondent.           §

              RESPONDENT’S SUPPLEMENT TO ANSWER

       This is a federal habeas corpus proceeding initiated by Petitioner Tyrone

 Cade, a death-sentenced Texas inmate, pursuant to 28 U.S.C. § 2254.

 Respondent Bobby Lumpkin (the Director) filed his Answer to Cade’s Second

 Amended Petition (ECF No. 127) on March 8, 2022. ECF No. 132. The Director

 files this Supplement to Answer to address the Supreme Court’s recent

 decision in Shinn v. Martinez Ramirez, 142 S. Ct. 1718 (May 23, 2022).

       In Martinez Ramirez, the Court held “that, under [28 U.S.C.]

 § 2254(e)(2), a federal habeas court may not conduct an evidentiary hearing or

 otherwise consider evidence beyond the state-court record based on ineffective

 assistance of state postconviction counsel.” Id. at 1734. That is because “under

 § 2254(e)(2), a prisoner is ‘at fault’ even when state postconviction counsel is

 negligent.” Id. at 1735. So “a federal court may order an evidentiary hearing or


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 otherwise expand the state-court record only if the prisoner can satisfy

 § 2254(e)(2)’s stringent requirements.” Id.

       Cade has never argued that his ineffective-assistance-of-counsel (IATC)

 claims fall within § 2254(e)(2)’s “stringent” exceptions, and he cannot: his

 claims do not rely on a “new rule of constitutional law” and his Martinez1

 theory necessarily means that the factual bases of his claims were previously

 available. See § 2254(e)(2)(A)(i), (ii); Second Amended Petition for Writ of

 Habeas Corpus, ECF No. 127, at 14–16, 250. Nor has he ever alleged “that

 further factfinding would demonstrate, ‘by clear and convincing evidence,’ that

 ‘no reasonable factfinder’ would have convicted him of the crime charged.”

 Martinez Ramirez, 142 S. Ct. at 1734 (quoting § 2254(e)(2)(B)). As the Director

 explained in his answer, ECF No. 132 at 34–36, 48, 115–16, 147, 154–57,

 § 2254(e)(2) prevents this Court from considering Cade’s new evidence that

 was not properly presented to the state court in his initial state habeas

 proceedings. See Martinez Ramirez, 142 S. Ct. at 1738 (discussing Holland v.

 Jackson, 542 U.S. 649, 653 (2004)); ECF No. 132 at 34 n.12.

       To the extent Cade’s IATC claim alleging counsel failed to investigate a

 “confusional arousal” defense constitutes a claim of innocence, Second

 Amended Pet., ECF No. 127 at 95–98, Martinez Ramirez squarely forecloses




 1     Martinez v. Ryan, 566 U.S. 1 (2012).

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 both Cade’s reliance on new evidence to support the claim and his assertion

 that ineffective assistance of state habeas counsel is a basis on which to expand

 the record beyond what was properly before the state court. Martinez Ramirez,

 142 S. Ct. at 1734–35. Indeed, Cade’s reliance on purported ineffectiveness of

 state habeas counsel to open the door to discovery and expansion of the record

 for several claims, Second Amended Pet., ECF No. 127 at 14, 55–56, 96–98,

 134, 145–46, 231, is foreclosed by Martinez Ramirez, 142 S. Ct. at 1736.

 Moreover, the declarations of Cade’s state habeas counsel and investigators on

 which Cade relies to argue he can overcome the default of his IATC claims is

 irrelevant and therefore inadmissible under Martinez Ramirez. 142 S. Ct. at

 1739 (“[A] federal court may not hold an evidentiary hearing—or otherwise

 consider new evidence—to assess cause and prejudice under Martinez.)

 (emphasis added).

       Because Cade cannot meet § 2254(e)(2)’s exceptions, this Court “may not

 hold an evidentiary hearing—or otherwise consider new evidence—to assess

 cause and prejudice under Martinez,” id. at 1739, and this Court’s adjudication

 of Cade’s claims is limited to the properly-developed state court record, id. at

 1734. For these reasons, Cade’s request for an evidentiary hearing and

 discovery should be denied.




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                                      Respectfully submitted,

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                        CERTIFICATE OF SERVICE

       I hereby certify that on June 21, 2022, I electronically filed the foregoing

 document with the clerk of the court for the U.S. District Court, Northern

 District of Texas, using the electronic case filing system. The electronic case

 filing system sent a “Notice of Electronic Filing” to lead counsel, who has




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 consented in writing to accept this Notice as service of this document by

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